AO 245C                 Case
                (Rev. 09/08)    4:14-cr-00171
                             Amended                    Document
                                     Judgment in a Criminal Case            696 Filed in TXSD on 08/24/17 Page 1 of 6
                Sheet 1                                                                                                               UnitedChanges
                                                                                                                               (NOTE: Identify States with
                                                                                                                                                      District  Court
                                                                                                                                                            Asterisks (*))
                                                                                                                                         Southern District of Texas

                                              UNITED STATES DISTRICT COURT                                                                       ENTERED
                                                               Southern District of Texas                                                   August 25, 2017
                                                                       Holding Session in Houston                                         David J. Bradley, Clerk

             UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL CASE
                                 V.
                            JAMES BOBINO
                                                                                      CASE NUMBER: 4:14CR00171-006
                                                                                      USM NUMBER: 66085-379
 See Additional Aliases.

Date of Original Judgment: August 4, 2017                                             Jonathan H. Cox
(or Date of Last Amended Judgment)                                                    Defendant's Attorney
Reason for Amendment
    Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                * Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
    Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))         Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
    Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                 Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                                          to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
    Correction for Clerical Mistake (Fed. R. Crim. P. 36)                               Direct Motion to District Court Pursuant to  28 U.S.C. § 2255 or
                                                                                           18 U.S.C. § 3559(c)(7)
THE DEFENDANT:                                                                           Modification of Restitution Order (18 U.S.C. § 3664)
 pleaded guilty to count(s)        1S on October 6, 2016.
    pleaded nolo contendere to count(s)
     which was accepted by the court.
    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                  Nature of Offense                                                                        Offense Ended                    Count
18 U.S.C. § 371                  Conspiracy to defraud the United States by paying and receiving                          4/30/2012                        1S
                                 kickbacks

 See Additional Counts of Conviction.
     The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
 The defendant has been found not guilty on count(s)
 Count(s) remaining                                                             is  are dismissed on the motion of the United States.

     It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                                      August 21, 2017
                                                                                      Date of Imposition of Judgment


                                                                                      ReservedForJudgeSignature
                                                                                      Signature of Judge

                                                                                      GRAY H. MILLER
                                                                                      UNITED STATES DISTRICT JUDGE
                                                                                      Name and Title of Judge

                                                                                      ReservedForSignDate
                                                                                      August 24, 2017
                                                                                      Date
                                                                                                                                                                 MRO   |   MRO
AO 245C                Case
               (Rev. 09/08)      4:14-cr-00171
                            Amended                     Document
                                     Judgment in a Criminal Case   696 Filed in TXSD on 08/24/17 Page 2 of 6
               Sheet 2 -- Imprisonment                                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                                                              Judgment -- Page 2 of 6
DEFENDANT: JAMES BOBINO
CASE NUMBER: 4:14CR00171-006

                                                             IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of time served.
This term consists of TIME SERVED as to Count 1S.

   See Additional Imprisonment Terms.

   The court makes the following recommendations to the Bureau of Prisons:


 The defendant is remanded to the custody of the United States Marshal.

   The defendant shall surrender to the United States Marshal for this district:
         at                          a.m.  p.m. on                           .
         as notified by the United States Marshal.

   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         before 2 p.m. on                                             .
         as notified by the United States Marshal.
         as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




     Defendant delivered on _______________________________ to ___________________________________
at ______________________________, with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
AO 245C                 Case
                (Rev. 11/16)      4:14-cr-00171
                             Amended                      Document
                                       Judgment in a Criminal Case       696 Filed in TXSD on 08/24/17 Page 3 of 6
                Sheet 3 -- Supervised Release                                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                             Judgment -- Page 3 of 6
DEFENDANT: JAMES BOBINO
CASE NUMBER: 4:14CR00171-006

                                                            SUPERVISED RELEASE
Upon release from imprisonment you will be on supervised release for a term of: 3 years.
This term consists of THREE (3) YEARS as to Count 1S.
     See Additional Supervised Release Terms.

                                                       MANDATORY CONDITIONS
1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           The above drug testing condition is suspended, based on the court's determination that you
               pose a low risk of future substance abuse. (check if applicable)
4.  You must cooperate in the collection of DNA as directed by the probation officer. ( check if applicable)
5.  You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
         are a student, or were convicted of a qualifying offense. (check if applicable)
6.  You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
    See Special Conditions of Supervision.
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer
      about how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment, you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of
       a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.
AO 245C               Case
              (Rev. 09/08)     4:14-cr-00171
                           Amended                      Document
                                     Judgment in a Criminal Case   696 Filed in TXSD on 08/24/17 Page 4 of 6
              Sheet 3C -- Supervised Release                                                                 (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                Judgment -- Page 4 of 6
DEFENDANT: JAMES BOBINO
CASE NUMBER: 4:14CR00171-006

                                            SPECIAL CONDITIONS OF SUPERVISION
You must participate in an inpatient or outpatient substance-abuse treatment program and follow the rules and regulations of that program.
The probation officer will supervise your participation in the program, including the provider, location, modality, duration, and intensity. You
must pay the costs of the program, if financially able.

You must submit to substance-abuse testing to determine if you have used a prohibited substance, and you must pay the costs of the testing if
financially able. You may not attempt to obstruct or tamper with the testing methods.

*The defendant shall provide the probation officer access to any requested financial information. If a fine or restitution amount has been
imposed, the defendant is prohibited from incurring new credit charges or opening additional lines of credit without approval of the probation
officer.

*The defendant is prohibited from possessing a credit access device, such as a credit card, unless first authorized by the probation officer.




   See Additional Special Conditions of Supervision.
AO 245C                Case
               (Rev. 09/08)     4:14-cr-00171
                             Amended                    Document
                                     Judgment in a Criminal Case   696 Filed in TXSD on 08/24/17 Page 5 of 6
               Sheet 5 -- Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                 Judgment -- Page 5 of 6
DEFENDANT: JAMES BOBINO
CASE NUMBER: 4:14CR00171-006


                                                 CRIMINAL MONETARY PENALTIES
    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assessment                          Fine                               Restitution

TOTALS                                       $100.00                                                       $1,534,228.14


   See Additional Terms for Criminal Monetary Penalties.

 The determination of restitution is deferred until                             . An Amended Judgment in a Criminal Case (AO 245C)
    will be entered after such determination.

 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal payees must be paid
    before the United States is paid.

Name of Payee                                                            Total Loss*       Restitution Ordered                Priority or Percentage
Medicare                                                                                       $1,534,228.14




   See Additional Restitution Payees.

TOTALS                                                                       $0.00             $1,534,228.14

 Restitution amount ordered pursuant to plea agreement $

 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
    fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
    to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    the interest requirement is waived for the  fine  restitution.
    the interest requirement for the  fine  restitution is modified as follows:

 Based on the Government's motion, the Court finds that reasonable efforts to collect the special assessment are not likely to be effective.
    Therefore, the assessment is hereby remitted.

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
AO 245C                Case
               (Rev. 09/08)     4:14-cr-00171
                            Amended                       Document
                                       Judgment in a Criminal Case        696 Filed in TXSD on 08/24/17 Page 6 of 6
               Sheet 6 -- Schedule of Payments                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                                                   Judgment -- Page 6 of 6
DEFENDANT: JAMES BOBINO
CASE NUMBER: 4:14CR00171-006

                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A  Lump sum payment of $100.00                 due immediately, balance due
        not later than                                     , or
        in accordance with  C,  D,  E, or  F below; or
B  Payment to begin immediately (may be combined with  C,  D, or  F below); or
C  Payment in equal              installments of                   over a period of                                 , to commence            days
          after the date of this judgment; or
D    Payment in equal                   installments of                          over a period of                   , to commence            days
          after release from imprisonment to a term of supervision; or
E    Payment during the term of supervised release will commence within                   days after release from imprisonment. The court
          will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F    Special instructions regarding the payment of criminal monetary penalties:
           Payable to: Clerk, U.S. District Court, Attn: Finance, P.O. Box 61010, Houston, TX 77208. Payment due in monthly installments
                       of $150 to commence 60 days after the date of this judgment.

                         * In reference to the amount below, the Court-ordered restitution shall be joint and several with any co-defendant who
                         will be ordered to pay restitution under this docket number. The defendant's restitution obligation shall not be affected
                         by any payments that may be made by other defendants in this case, except that no further payment shall be required
                         after the sum of the amounts paid by all defendants has fully covered all the compensable losses.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


 Joint and Several
Case Number
Defendant and Co-Defendant Names                                                    Joint and Several              Corresponding Payee,
(including defendant number)                                  Total Amount              Amount                      if appropriate
* SEE NOTE ABOVE
James Bobino 4:14CR00171-006                                   $1,534,228.14


   See Additional Defendants and Co-Defendants Held Joint and Several.

 The defendant shall pay the cost of prosecution.

 The defendant shall pay the following court cost(s):

 The defendant shall forfeit the defendant's interest in the following property to the United States:
    As set forth in the order imposing money judgment executed by this Court on May 19, 2017.

   See Additional Forfeited Property.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
